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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DIVISION

SIOUX STEEL COMPANY, a South              )                     CIV. 15-4136
Dakota corporation,                       )
                                          )
        Plaintiff,                        )
                                          )       PLAINTIFF’S MOTION TO STRIKE
vs.                                       )       DEFENDANT’S EXPERT WITNESS
                                          )             JOHN W. CARSON
KC ENGINEERING, P.C., an Iowa             )
corporation,                              )
                                          )
        Defendant.                        )


        Plaintiff Sioux Steel Company (“SSC”), by and through its attorney of record, hereby moves

the Court for an Order striking the opinion offered by Defendant’s expert, John W. Carson. This

Motion is brought pursuant to Federal Rule of Evidence 702, and Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993). In addition, SSC seeks to disqualify Mr. Carson pursuant

to the Court’s inherent power to disqualify expert testimony. See U.S. v. Salamanca, 244 F.Supp. 2d

1023, 1025 (D.S.D. 2003). In support of its Motion, SSC relies on Plaintiff’s Memorandum in

Support of Motion to Strike Defendant’s Expert Witness John W. Carson, and Affidavit of G. Verne

Goodsell in Support of Plaintiff’s Brief in Support of Motion to Strike Causation Opinion of John W.

Carson, which are filed herewith, and incorporated herein by reference.

        WHEREFORE, SSC respectfully requests its Motion be granted and an order be entered by

the Court striking Mr. Carson’s testimony.




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      Dated this 16th day of March, 2018.

                                             /s/ G. Verne Goodsell – Filed Electronically
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                                   CERTIFICATE OF SERVICE

       The undersigned, one of the attorneys for Plaintiff, hereby certifies that a true and correct copy

of the foregoing Plaintiff’s Motion to Strike Defendant’s Expert John W. Carson was filed and served

electronically on the 16th day of March, 2018, with the Clerk of Court using the Odyssey File and

Serve system:

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                                             /s/ G. Verne Goodsell – Filed Electronically
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